          Case 1:22-cv-07499-BMC Document 20
                                          19 Filed 06/23/23
                                                   06/22/23 Page 1 of 2 PageID #: 379
                                                                                  377

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

        PIERO CRIVELLARO, Individually and on                        )
           behalf of all others similarly situated                   )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 22-cv-7499
                                                                     )
   SINGULARITY FUTURE TECHNOLOGY, LTD.                               )
  F/K/A SINO-GLOBAL SHIPPING AMERICA LTD.,                           )
                    et al                                            )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) SINGULARITY FUTURE TECHNOLOGY, LTD. F/K/A SINO-GLOBAL SHIPPING
                                           AMERICA LTD., YANG JIE, LEI CAO, ZHIKANG HUANG, TUO PAN, XIAOHUAN
                                           HUANG, JING SHAN, TIELING LIU, JING WANG, and LEI NIE
                                           98 Cuttermill Road
                                           Great Neck Plaza, New York



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Michael Dell'Angelo
                                           Berger Montague PC
                                           1818 Market Street, Suite 3600
                                           Philadelphia, PA 19103
                                           215-875-3080


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:        6/23/2023                                                          Brenna B. Mahoney by: Roseann Guzzi
                                                                                          Signature of Clerk or Deputy Clerk
           Case 1:22-cv-07499-BMC Document 20
                                           19 Filed 06/23/23
                                                    06/22/23 Page 2 of 2 PageID #: 380
                                                                                   378

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 22-cv-7499

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
